Case: 2:08-cv-00555-EAS-TPK Doc #: 19 Filed: 07/17/08 Page: 1 of 15 PAGEID #: 144

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

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LIBERTARIAN PARTY OF OHIO, et al.,

PLAINTIFFS,

v. CASE NO. C2-08-555
JUDGE EDMUND A. SARGUS, JR.
MAGISTRATE JUDGE NORAH MCCANN KING
JENNIFER BRUNNER, in her
Official Capacity as Ohio
Secretary of State,

DEFENDANT.

OPINION AND ORDER

This matter came before the Court on Plaintiffs’, The Libertarian Party of Ohio,
Kevin Knedler, Bob Barr, Wayne A. Root, Mark Noble and Margaret A. Leech (collectively, the
“Libertarian Party”), Motion for Preliminary Injunction. (Doc. #6). Plaintiffs are an alternative
political party and its candidates for public office in the November, 2008 general election.
Defendant is the Ohio Secretary of State. Plaintiffs seek an order directing Defendant to place

the Libertarian Party and its candidates on the 2008 general election ballot for the state of Ohio.

For the reasons that follow, Plaintiffs’ Motion is GRANTED.

Case: 2:08-cv-00555-EAS-TPK Doc #: 19 Filed: 07/17/08 Page: 2 of 15 PAGEID #: 145

SUMMARY

The Libertarian Party of Ohio seeks to have its candidates for President, Vice
President, United States House of Representatives and the Ohio General Assembly on the general
election ballot in Ohio on November 4, 2008. Two years ago, the Ohio statutes defining the
methods of ballot access for minor or third parties were declared unconstitutional in Libertarian
Party of Ohio v. Blackwell, 462 F.3d 579 (6th Cir. 2006), a decision which is binding precedent
on both the state of Ohio and this Court. Since this decision was issued, the Ohio General
Assembly has taken no action to establish ballot access standards for minor political parties,
leaving no lawful, statutory criteria to be followed by the Secretary of State or the various Boards
of Election of each county.

The Ohio Secretary of State, having sought new legislation in vain, has attempted
to remedy those features of Ohio law declared unconstitutional in Blackwell, supra. The state of
Ohio undoubtedly has the authority to require party candidates for public office to file petitions
sufficient in number to demonstrate a modicum of public support; the State also has the authority
to require that such petitions are filed well in advance of an election so as to insure an orderly,
reliable election. At the same time, the First Amendment to the United States Constitution
guarantees a right of association which is violated by onerous access statutes which prevent third
parties and candidates from appearing on the ballot.

The Ohio Constitution requires that parties nominate candidates through

primaries. Various Ohio statutes establish the dates of primary elections and the time to file

candidacy petitions. Within these limited strictures, the Secretary of State of Ohio has attempted

Case: 2:08-cv-00555-EAS-TPK Doc #: 19 Filed: 07/17/08 Page: 3 of 15 PAGEID #: 146

to modify the ballot access structure. As described below, under the Blackwell analysis, those
modifications are still unconstitutional. Further, as to the federal offices of President, Vice
President, and the United States House of Representatives, the Constitution requires the state
legislatures, not executive officers such as a Secretary of State, to determine the method of
elections.

This Court notes that the Secretary of State, within the limited confines of her
authority, attempted to bring Ohio election law into compliance with the Constitution, which
cannot be said of the Ohio General Assembly. For the reasons that follow, however, the
Directive issued by the Secretary of State suffers from the same deficiencies found in Blackwell
and, as to the federal offices, is in conflict with Articles I and II of the Constitution.

Il.

The facts are not in dispute. Prior to the Sixth Circuit Court of Appeals’ decision
in Libertarian Party of Ohio v. Blackwell, 462 F.3d 579 (6th Cir. 2006), a party could qualify for
the 2008 general election ballot in either one of the two methods. The first method was satisfied
if the party candidate for President or Governor received at least five percent of the vote in the
preceding election. If the party could not meet this threshold, it could nonetheless qualify if it
did the following: 1) obtained valid signatures of Ohio electors equal to at least one percent of
the votes cast for governor in the 2006 general election (40,227); 2) filed the signatures and
petition on November 5, 2007, 120 days before the March 4, 2008 primary election and 364 days

before the November 4, 2008 general election; 3) nominated their candidates at the March 4,

2008 primary election. Ohio Rev. Code §§ 3501.01 (F)(3), 3517.021, 3501.01(E).

Case: 2:08-cv-00555-EAS-TPK Doc #: 19 Filed: 07/17/08 Page: 4 of 15 PAGEID #: 147

In Blackwell, the Court of Appeals considered the Libertarian Party’s challenge to
Ohio’s ballot access requirements, and held that collectively the statutes created an
unconstitutional burden on First Amendment rights. The early filing deadline requiring minor
parties to gather 40,227 signatures one year in advance of a general election imposed a “severe
burden” that was not “narrowly drawn to advance a state interest of compelling importance.”
Blackwell, 462 F.3d at 593. The Court of Appeals discussed ballot restrictions in other states at
length, finding no other states as restrictive as Ohio. Of the seven other states that require
political parties to nominate candidates through the primary process, Ohio imposed the most
stringent requirements. For example, while California and Mississippi had October and January
filing deadlines, respectively, neither state had a signature requirement in presidential election
years. Id. at 589. The four other primary states have filing deadlines of April or later. Jd. at
n.10.

Considering the entire statutory scheme, the Court held:

Ohio is well within its authority to mandate primary elections, to

limit all parties to one primary date, or to require filing a petition in

advance of the primary for administrative purposes. Viewed

individually, each of these requirements may only impose a

reasonable burden on constitutional rights. In practice, however,

the combination of these laws imposes a severe burden on the

associational rights of the LPO, its members, and its potential

voter-supporters. As the state has not shown that these laws are

narrowly tailored to protect a compelling state interest, we find that

the Ohio system for minor party qualification violates the First
Amendment of the Constitution.

Blackwell, 462 F.3d at 595.

Following the Court of Appeals’ decision, in the absence of legislation from the

Ohio General Assembly enacting new constitutional ballot access procedures, the Ohio Secretary

Case: 2:08-cv-00555-EAS-TPK Doc #: 19 Filed: 07/17/08 Page: 5 of 15 PAGEID #: 148

of State issued a Directive dated May 21, 2007. (Directive 2007-09, Doc. #5, Ex. B). The
Directive requires a minor political party to: 1) obtain petition signatures equal to one-half of one
percent of the votes cast for governor in the 2006 general election (20,114); 2) file nominating
petitions 100 days before the primary. For 2008, that date is November 26, 2007, nearly a full
year before the November 4, 2008 general election. The Directive left unchanged the
requirement that minor parties nominate their candidates by primary election. The Directive
contains an additional provision, allowing political parties that do not participate in the primary
to be granted party status for the purposes of certifying presidential and vice presidential
candidates only, by filing a petition with 20,113 valid signatures by August 18, 2008. (Directive
2007-09).

On March 3, 2008, the Libertarian Party filed with the Secretary of State a petition
containing 6,545 signatures. Defendant rejected the petition for failure to comply with the
Directive. Plaintiffs filed a Complaint on June 6, 2008, seeking preliminary injunctive relief
prohibiting enforcement of Directive 2007-09 and granting the Libertarian Party access to the
November, 2008 ballot. Plaintiffs filed a motion for preliminary injunction on June 16.
Following completion of the briefing, the Court held oral argument on Plaintiffs’ motion on
July 14, 2008.

Hil.

{In considering a request for preliminary injunction, the district court is to consider

the following: (1) the likelihood that the movant will succeed on the merits, (2) whether the

movant will suffer irreparable harm without the injunction, (3) the probability that granting the

injunction will cause substantial harm to others and (4) whether the public interest will be

Case: 2:08-cv-00555-EAS-TPK Doc #: 19 Filed: 07/17/08 Page: 6 of 15 PAGEID #: 149

advanced by issuing the injunction. Lorillard Tobacco Co. v. Amouri’s Grand Foods, Inc., 453
F.3d 377, 380 (6th Cir. 2006), citing Six Clinics Holding Corp., II v. Cafcomp Sys., Inc., 119
F.3d 393, 399 (6th Cir. 1997). “In making its determination, the district court is required to make
specific findings concerning each of the four factors, unless fewer factors are dispositive of the
issue.” Jd. The foregoing are “factors to be balanced, not prerequisites that must be met.
Accordingly, the degree of likelihood of success required may depend on the strength of the other
factors.” In re DeLorean Motor Co., 755 F.2d 1223, 1229 (6th Cir. 1985).

A, Likelihood of Success on the Merits

The Court finds that it is likely that Plaintiffs will prevail on the merits of their
Constitutional claims. Plaintiffs correctly contend that only the legislative branch has the
authority, under Articles I and II of the United States Constitution, to prescribe the manner of
electing candidates for federal office. As to the House of Representatives, Article I, Section 4
states that “the Times, Places and Manner of holding Elections for Senators and Representatives,
shall be prescribed in each State by the Legislature thereof. . . .”” As to members of the Electoral
College who determine the President, Article II, Section 1 states: “Each State shall appoint, in
such Manner as the Legislature thereof may direct, a Number of Electors.”

To be sure, there is a dirth of precedent regarding the Constitution’s above-cited
references to the state legislatures. The language of both Articles, however, is not susceptible to
more than one interpretation. In this case, the applicable state legislature is the Ohio General
Assembly. These constitutional provisions provide for no role on the part of the executive

branch of state government as to the election of President or members of the House of

Representatives.

Case: 2:08-cv-00555-EAS-TPK Doc #: 19 Filed: 07/17/08 Page: 7 of 15 PAGEID #: 150

The Supreme Court undertook a limited analysis of these clauses in Bush v. Gore,
531 U.S. 98 (2000).’ The majority per curiam opinion includes no analysis as to the role of state
legislatures under Article II, Section 1. Three of the five justices in the majority joined ina
concurring opinion which noted:

In McPherson v. Blacker, 146 U.S. 1 (1892), we explained that

Art. II, § 1, cl. 2, “convey[s] the broadest power of determination”

and “leaves it to the legislature exclusively to define the method”

of appointment. 146 U.S. at 27. A significant departure from the

legislative scheme for appointing Presidential electors presents a

federal constitutional question.

Bush, 531 U.S. at 104. These justices concluded, as an alternative basis for the result reached by
the Court, that the role played by the Florida Supreme Court in the recount of votes “infringed
upon the legislature’s authority” and violated Article II of the Constitution. /d. at 114.

The four dissenting justices did not appear to disagree that the Florida legislature
had exclusive power under Article II. Instead, Justice Stevens, in a dissent joined by Justices
Ginsburg and Breyer, contended that the Florida legislature “intended the Florida Supreme Court
to play the same role in Presidential elections that it has historically played in resolving election
disputes.” Id. at 124. According to Justice Stevens, the role of the Florida Supreme Court in
interpreting state election laws and resolving dispute issues stemmed from specific authority
granted by legislation enacted by the Florida legislature.

Justice Souter, joined by Justices Breyer, Stevens and Ginsburg, framed the issue

as “whether the judgment of the state supreme court had displaced the state legislature’s

' The majority opinion appeared to restrict the holding in the case by noting that

“our consideration is limited to present circumstances ....” Jd. at 109. This language was used
in reference to the equal protection analysis, which is not implicated in this case.

7

Case: 2:08-cv-00555-EAS-TPK Doc #: 19 Filed: 07/17/08 Page: 8 of 15 PAGEID #: 151

provisions for election contests: is the law as declared by the court different from the provisions
made by the legislature, to which the national Constitution commits responsibility for
determining how each State’s Presidential electors are chosen? See U.S. Const., Art. II, § 1,

cl. 2.” Jd. at 131.

The seven justices who joined in opinions addressing the authority of the state
legislatures under Articles II all recognized the exclusive role given therein. The justices
disagreed as to whether the Florida Supreme Court displaced or usurped such legislative
authority, an issue not implicated in this case.

In this case, the Directive issued by the Secretary of State does not interpret
provisions of legislation or resolve factual disputes arising under Ohio law. Instead, the
Directive establishes a new structure for minor party ballot access, a structure not approved by
the Ohio legislature. As to federal offices, Article I, Section 4 and Article II, Section 1 vest
exclusive power to establish such a structure in the state legislature.

Even if the Ohio General Assembly could delegate its authority to a member of
the executive branch, an issue that is not before the Court, there is no evidence that the state
legislature has specifically delegated its authority to Defendant to direct the manner in which the
state of Ohio votes for Senators and Representatives or selects electors to vote for President.
Under the Constitution, the Secretary of State, a member of the executive branch of government,

has no authority independent of the Ohio General Assembly to direct the method of the

appointment of Presidential electors or federal officials. Absent an express delegation of

Case: 2:08-cv-00555-EAS-TPK Doc #: 19 Filed: 07/17/08 Page: 9 of 15 PAGEID #: 152

legislative authority, this Court cannot assume that the Ohio General Assembly intended to vest
the Secretary of State with the legislative authority conferred in Article I, Section 4 and Article II,
Section 1.

Defendant argues that Directive 2007-09 was a valid exercise of the Secretary of
State’s statutory authority to “[i]ssue instructions by directives and advisories in accordance with
section 3501.053 of the Revised Code to members of the boards as to the proper methods of
conducting elections . . . [and] [p]repare rules and instructions for the conduct of elections.”
Ohio Rev. Code 3501.05(B) and (C). The Secretary of State’s authority does not, however,
extend to filling a void in Ohio’s election law caused by the legislature ignoring a judicial
pronouncement declaring a state statute unconstitutional.’ The general, statutory authority to
direct the conduct of electors cannot, as to Articles I and II of the Constitution, serve as a
substitute for state legislative action regarding the election of federal officials. Accordingly, the
Directive has no effect and cannot be enforced to prevent the Libertarian Party and its federal
candidates from appearing on the Ohio general election ballot.

Even assuming that Directive 2007-09 was a valid exercise of Defendant’s power

to regulate elections, the Directive itself imposes unconstitutional burdens on First Amendment

The Directive itself goes far beyond instructing boards of elections in how to

conduct elections; it purports to create new law. For example, the provision allowing minor
political parties to qualify for party status, for the purposes of designating a presidential and vice
presidential candidate only, by filing a petition with 20,113 valid signatures 80 days before the
general election bears no resemblance to any existing Ohio election law. Minor party
presidential and vice presidential candidates can currently qualify for the ballot by complying
with O.R.C. 3505.10(B)(3), which contains a 60 day filing deadline; the filing deadline for
independent presidential and vice presidential candidates is 75 days before the general election.
Ohio Rev. Code. 3505.10(B). Defendant’s directive appears to create a new qualifying
procedure, effectively amending Ohio election law by Directive.

9
Case: 2:08-cv-00555-EAS-TPK Doc #: 19 Filed: 07/17/08 Page: 10 of 15 PAGEID #: 153

rights and is invalid as to all Plaintiffs, including Libertarian Party’s candidates for both state and
federal office. The analysis is identical to that set out in Blackwell:

The Supreme Court has clearly stated that states “may, and
inevitably must, enact reasonable regulations of parties, elections,
and ballots to reduce election- and campaign-related disorder.”
Timmons v. Twin Cities Area New Party, 520 U.S. 351, 358
(1997); see also Storer v. Brown, 415 U.S. 724, 730 (1974). Thus,
voting regulations are not automatically subjected to heightened
scrutiny. The Supreme Court has set forth the appropriate
analytical framework in Anderson [v. Celebrezze], 460 U.S. 780
[(1983)], and Burdick v. [Takushi], 504 U.S. 428 [(1992)]. First,
the court looks at the “character and magnitude of the asserted
injury” to petitioner’s constitutional rights. Anderson, 460 U.S. at
789. The court must then “identify and evaluate the precise
interests put forward by the State as justifications for the burden
imposed by its rule.” Jd. If petitioner’s rights are subjected to
“severe” restrictions, “the regulation must be ‘narrowly drawn to
advance a state interest of compelling importance.’” Burdick, 504
U.S. at 434 (quoting Norman v. Reed, 502 U.S. 279, 289 (1992)).
But if the state law imposes only “reasonable, nondiscriminatory
restrictions” upon the protected rights, then the interests of the state
in regulating elections is “generally sufficient to justify” the
restrictions. /d. (quoting Anderson, 460 U.S. at 788).

Blackwell, 462 F.3d at 585-87.

Following the Anderson/Burdick framework, this Court must first determine the
“character and magnitude of the asserted injury.” Blackwell, 462 F.3d at 585 (quoting Anderson,
460 U.S. at 789. The Libertarian Party challenges the Secretary of State’s Directive, moving the
filing deadline by 20 days to 100 days before the primary, cutting the signature requirement in
half, to .5% of the voters in the last gubernatorial election, and maintaining the primary

requirement. For the same reasons the Ohio statute was found to be unconstitutionally

10

Case: 2:08-cv-00555-EAS-TPK Doc #: 19 Filed: 07/17/08 Page: 11 of 15 PAGEID #: 154

burdensome, the Directive likewise imposes a severe burden on associational rights.’ The
Secretary of State’s procedures still impose the most burdensome restrictions of any of the seven
states that require political parties to nominate their candidates in the primary election. See
Blackwell, 462 F.3d at 589 (collecting cases). The collective impact of the Directive’s ballot-
access requirements imposes a severe burden on the First Amendment rights of the Libertarian
Party and its supporters. Any regulation of this First Amendment right must be “narrowly drawn
to advance a state interest of compelling importance.” Burdick, 504 U.S. at 434.

Defendant has advanced the same arguments to justify the Directive as the State
did earlier to justify the statutory scheme declared unconstitutional in Blackwell. Specifically,
Defendant asserts compelling interests in ensuring that minor parties have a “modicum of
support” before gaining access to the ballot, and in allowing sufficient time to process
nominating petitions to ensure orderly elections. These justifications fail for the same reasons
expressed by the Court of Appeals in Blackwell. 462 F.3d at 594. “The deadline in this case
serves only to prevent the registration of new political parties unless those parties can mobilize
more than a year before the election in which they wish to run. This system serves to protect the
two major parties at the expense of political dialogue and free expression, which is not justified,
much less compelling.” /d.

Defendant contends that, due to the groundswell of enthusiasm surrounding

primary elections in this presidential election year, the fact that the Libertarian Party could not

3 The requirement that minor parties nominate their candidates through the primary

process is constitutional, standing alone. See Blackwell, 462 F.3d at 595; California Democratic
Party v. Jones, 530 U.S. 567, 572 (2000); Ohio Const. Art. V, Sec. 7. However, because the
Court finds that Ohio’s ballot access requirements for minor parties continue to run afoul of the
First Amendment, Ohio’s entire statutory scheme, as applied to minor parties, is unconstitutional.

11

Case: 2:08-cv-00555-EAS-TPK Doc #: 19 Filed: 07/17/08 Page: 12 of 15 PAGEID #: 155

obtain the requisite number of signatures before the November 26, 2007 deadline proves that
“Ohioans are apparently not interested in joining with the Plaintiffs to form a new political
party.” The limited record in this case does not support such a conclusion. It is undisputed that
the Libertarian Party was founded in 1972, has qualified for the Ohio ballot in previous years,
and that its presidential candidate, Plaintiff Barr, is on the ballot in 31 other states for the 2008
general election.

No federal court has upheld a ballot restriction requiring minor parties to file party
petitions more than eleven months in advance of a general election. Moreover, in 1968, the
Supreme Court specifically rejected Ohio’s February filing deadline for minor parties to qualify
for the November election. The Court held: “Ohio’s burdensome procedures, requiring extensive
organization and other election activities by a very early date, operate to prevent such a group
from ever getting on the ballot... .” Williams v. Rhodes, 393 U.S. 23 (1968).

Just as the Court of Appeals described the statutory scheme in 2006, “the
combination [of the Directive’s requirements] imposes a severe burden on the associational
rights of the Libertarian Party, its members, and its potential voter-supporters” which is not
“narrowly tailored to protect a compelling state interest.” Blackwell, 462 F.3d at 595. The
procedures set out by the Secretary of State’s Directive are insufficient to remedy the
constitutional deficiencies of Ohio’s treatment of minor parties.

B. Irreparable Harm to the Moving Party

The irreparable harm to Libertarian Party and its candidates is denial of access to
the ballot. The Court finds that the violation of Plaintiffs’ First Amendment rights constitutes

irreparable injury for which injunctive relief is an appropriate remedy.

12
Case: 2:08-cv-00555-EAS-TPK Doc #: 19 Filed: 07/17/08 Page: 13 of 15 PAGEID #: 156

C. Harm to Others and the Public

Defendant argues that both declared candidates and the general public will be
harmed if the Libertarian Party is allowed access to the ballot at this late date. On the contrary,
the Sixth Circuit clearly expressed a preference for the “political dialogue and free expression”
engendered by the presence of multiple parties on the ballot. Blackwell, 462 F.3d at 594. As in
Blackwell, “the State has made no showing that the voters of Ohio, who are able to cast an
effective ballot featuring several independent candidates, would be flummoxed by a ballot
featuring multiple political parties.” Jd.

The Court finds that each of the four preliminary injunction factors weighs in
favor of Plaintiffs’ request for injunction relief.

IV.

Because the Ohio General Assembly has failed to prescribe constitutional ballot
access requirements, the Court looks for guidance to the Sixth Circuit Court of Appeals in
Goldman-Frankie v. Austin, 727 F.2d 603, 607 (6th Cir. 1984), confronting a recalcitrant
Michigan legislature:

Despite existing legal precedent, particularly McCarthy vy. Austin,

supra, wherein the Michigan scheme was expressly declared

unconstitutional for its failure to provide independent candidates

for public office with a means of access to the ballot, the Michigan

legislature continued to ignore the evolving judicial

pronouncements as late as the 1980 presidential election. In that

election Gus Hall and Angela Davis, running as independent

candidates in Michigan for president and vice-president,

respectively, were forced to resort to the federal court to obtain

ballot position. Hall v. Austin, 495 F. Supp. 782 (E.D. Mich.
1980).

13

Case: 2:08-cv-00555-EAS-TPK Doc #: 19 Filed: 07/17/08 Page: 14 of 15 PAGEID #: 157

Michigan has, to date, failed to remedy the situation. This Court is

therefor compelled to again declare, in absolute terms, that the

Michigan election laws, so far as they foreclose independent

candidates access to the ballot, are unconstitutional.

To remedy the unconstitutional ballot access procedures in Michigan, the Court of
Appeals affirmed the district court’s order placing Plaintiff Goldman-Frankie’s name on the
ballot. As instructed by the Supreme Court in McCarthy v. Briscoe, 429 U.S. 1317, 1323 (U.S.
1976), “[iJn determining whether to order a candidate’s name added to the ballot as a remedy for
a State’s denial of access, a court should be sensitive to the State’s legitimate interest in
preventing “laundry list” ballots that ‘discourage voter participation and confuse and frustrate
those who do participate.’” Quoting Lubin y. Panish, 415 U.S. 709, 715 (1974). But where a
state has unconstitutionally prevented a party or a candidate from accessing the ballot, “‘a court
may properly look to available evidence or to matters subject to judicial notice to determine
whether there is reason to assume the requisite community support.” See McCarthy v. Briscoe,
429 US. at 1323.

The Constitution gives the Ohio legislature significant discretion to establish
election procedures. After the state statute was held to fall outside “the boundaries established
by the Constitution,” the legislature failed to act. Blackwell, 462 F.3d at 595. The Court will not
prescribe Constitutional election procedures for the state, but in the absence of constitutional,
ballot access standards, when the “available evidence” establishes that the party has “the requisite
community support,” this Court is required to order that the candidates be placed on the ballot.

McCarthy, 429 U.S. at 1323. As set out above, the Court finds that the Libertarian Party has the

requisite community support to be placed on the ballot in the state of Ohio.

14

Case: 2:08-cv-00555-EAS-TPK Doc #: 19 Filed: 07/17/08 Page: 15 of 15 PAGEID #: 158

Vv.
For the foregoing reasons, the Court GRANTS Plaintiffs’ Motion for Preliminary
Injunction (Doc. #6), and ORDERS that Plaintiffs be placed on the 2008 general election ballot
for the state of Ohio, and that the individual plaintiffs be identified as candidates of the
Libertarian Party of Ohio.
This Order shall be stayed for a period of ten (10) days, permitting the Defendant

to pursue expedited review by the Court of Appeals for the Sixth Circuit.

IT IS SO ORDERED.
“TJ ~17-,. O08 << -
DATE EDMEND A. SARGUS, JR.
UNI TATES DISTRICT JUDGE

15

